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                                           INVESTOR COUNSEL


                                                                                                       Philip Kim, Esq.
                                                                                                   pkim@rosenlegal.com


                                                                         January 21, 2021

        VIA ECF

        Hon. Louis L. Stanton
        United States District Court
        Southern District of New York
        500 Pearl Street
        New York, NY 10007

                 RE:    Garrett-Evans v. Coty, Inc. et al.
                        Case No. 1:20-cv-07277

        Dear Judge Stanton:

               We represent Lead Plaintiff, Susan Nock, in this class action. The Court recently appointed
        us Lead Counsel. We write to inform the Court both that we shall name Reinhold Thurner (“Mr.
        Thurner”) as an additional class representative in the Amended Complaint we shall file tomorrow
        and that in prosecuting this class action, we intend to assign work to Mr. Thurner’s counsel, Roche
        Cyrulnik Freedman LLP (“RCF”). 1 We submit this notice to apprise the Court of how including
        Mr. Turner and his counsel in our prosecution of this action will benefit the class. See, In re
        Allergan PLC Sec. Litig., 18CIV12089CMGWG, 2020 WL 5796763, at *7 (S.D.N.Y. Sept. 29,
        2020).

                Lead plaintiffs have a “responsibility” and “obligation” to add additional named plaintiffs
        when doing so is in the class’s best interest. See In re WorldCom, Inc. Sec. Litig., 294 F. Supp. 2d
        392, 422 (S.D.N.Y. 2003) (“obligation” in context of allegations and causes of action “to identify
        as named plaintiffs any additional class representatives that were necessary to assert the claims”).
        Accordingly, no legal bar prevents adding other representative plaintiffs “to represent more
        broadly the interests of the class at the time of the filing of the consolidated class complaint.” Id.
        at 422. This is especially the case where doing so will provide strategic benefit to the class, as
        “[o]nce the lead plaintiff is appointed, that lead plaintiff has the autonomy and authority to direct
        the course and strategy of the litigation.” In re Synergy Pharmaceuticals, Inc. Sec. Litig., 2019 WL
        6150713, at *2 (E.D.N.Y. Nov. 20, 2019); In re Bank of Am. Corp. Sec., Derivative, & Employee
        Ret. Income Sec. Act (ERISA) Litig., 09 MD 2058 PKC, 2011 WL 4538428, at *1 (S.D.N.Y. Sept.
        29, 2011) (seeking “leave to add additional class plaintiffs” is “a decision . . . within the lead


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            We write with the consent of Mr. Thurner and RCF.


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THE ROSEN LAW FIRM, P.A. ♦ 275 MADISON AVENUE, 40TH FLOOR ♦ NEW YORK, NY 10016 ♦ TEL: 212-686-1060 ♦ FAX: 212-202-3827
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        plaintiffs' prerogative to exercise control over the litigation as a whole”) (internal quotation
        omitted).

                 Mr. Thurner timely filed a motion for appointment as lead plaintiff, has a significant
        financial interest in the Action, and otherwise satisfies the requirements of Rule 23. Accordingly,
        it is in the best interests of the Class to add Mr. Thurner as a named plaintiff in the forthcoming
        Amended Complaint.

                Further, it is in the Class’s best interests to delegate some responsibilities for prosecuting
        this class action to Mr. Thurner’s counsel, RCF, under my firm’s supervision. Acknowledging that
        lead counsel—in representing the Class’s interests—may enlist the work of other attorneys, the
        Second Circuit has established that a rebuttable presumption of correctness applies to a lead
        counsel’s decision to apportion attorneys’ fees from the settlement fund to non-lead counsel. See
        Flanagan, Lieberman, Hoffman & Swaim v. Ohio Pub. Emples. Ret. Sys., 814 F.3d 652, 660 (2d
        Cir. 2016) (without impropriety, no reason exists “to interfere in any decision Co-Lead Counsel
        might make to share their own portion of fees with a law firm that produced work at Co-Lead
        Counsel’s behest”). RCF’s work as additional counsel will immediately benefit the Class. RCF
        conducted the initial investigation into this case and drafted the initial complaint. RCF’s
        experience, work product, and resources will benefit the Class and will in no way cause duplication
        of effort or otherwise reduce the Class’s recovery. Faithful to the Court’s Order, appointing them,
        Lead Counsel will remain in full control of the litigation, delegating to RCF only such litigation
        tasks that promote (rather than detract from) efficiency and ensuring that RCF’s inclusion only
        benefits the Class.

                Proceeding in this manner will maximize efficiency and is in the Class’s best interests. We
        stand ready to address any questions or concerns the Court may have.

                                                          Respectfully,

                                                          THE ROSEN LAW FIRM, P.A.

                                                          /s/ Phillip Kim

                                                          Phillip Kim



        cc:     All counsel of record (Via ECF)




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